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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORID A
                                  WEST PALM BEACH DIVISION


   JOHN J . BOSWELL ,

   Plaintiff
                             05-8078                                                                       MAGISTRATE
                                                          Case No .                                         JOHNSO N

   V.



   JEFFREY FISHER, and
   FISHER & BENDECK, P .A. ,

   Defendants
                                                                                      AUG 2 5
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                                                 COMPLAINT

           COMES NOW the Plaintiff, John J . Boswell and files this action against Jeffre y

   Fisher, Esquire, and the law firm of Fisher & Bendeck P.A. and avers:

                                    JURISDICTION AND VENU E

         1) Plaintiffs claims are filed pursuant to 18 U .S.C. § 2511 and 18 U .S.C . § 2520,

               et seq .   Venue and jurisdiction are, therefore, proper pursuant to 18 U .S.C . §

               2511 (1), inter alia, and 18 U .S .C . §2520(a), (b), & (c), inter alia .

                                                    PARTIES

         2) Plaintiff, John J . Boswell, was a resident of Palm Beach Gardens, FL, at all

               times material to this action .

         3) Defendant, Jeffrey Fisher is a resident of Palm Beach County .

         4) Defendant Fisher and the law firm of Fisher & Bendeck have their main offices

               in Palm Beach County .



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         5) Defendant Fisher & Bendeck, P .A . is vicariously liable for the acts of Jeffre y

             Fisher, its employee .

                                                     FACTS

         6) Jeffrey Fisher and Fisher & Bendeck, P .A ., do business in the State of Florida as

             a law firm .

         7) On August 28'h, 2003, in a deposition of John J . Boswell, Defendant Fisher

             violated U.S .C .§2511(1)(d), inter alia, when, in a deposition, he used and played

             an unlawfully recorded tape recording of a telephone conversation between

             John J . Boswell and a third party, alleged by Fisher to be Paul Walker an

             employee of ISCO Holding Company, Inc ., a company in which John J .

             Boswell is an officer and shareholder .

         8) At the time the recording was made, John Boswell was in his home in Palm

             Beach Gardens, Florida, and Paul Walker was in the state of Missouri .

         9) Defendant Fisher, in spite of warnings by opposing counsel that the use of the

             recording was unlawful, and in an effort to discredit John Boswell to his

             children, knowingly and maliciously played and used the recording, and quoted

             from a transcript of said recording, on the deposition record .

         10) On September 23`d, 2003, in a deposition of John J . Boswell, Defendant Fisher

             violated U .S .C .§2511(1)(d), inter alia, when, in a deposition, he used or

             endeavored to use unlawfully recorded tape recordings of additional

             conversations involving John Boswell and read or paraphrased from a transcript

             of an unlawfully recorded tape recording of a telephone conversation between

             John J . Boswell and a third party .




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                                            RELIEF REQUESTED

           11) John J . Boswell was damaged by the loss of affection of his children, and by the

              cost of subsequent litigation fostered by the use of the recordings and the use of

              the transcripts of the recordings .

          12) Equitable relief in the form of an injunction to prevent the Defendant from

              further use of recorded statements involving the Plaintiff, his family, or business

              associates, in any way, for any purpose ;

          13) Damages under 18 U .S .C . 2520 and U .S.C .§2511, inter alia, as may be

              appropriate ;

          14) Punitive damages underl8 U .S.C. 2520 and U .S.C.§2511, inter alia, as may be

              appropriate ;

          15) Reasonable attorney fees and other litigation costs reasonably incurred ;

          16) Plaintiff demands a trial by jury of all causes so triable .

    PRAYER FOR RELIE F

    WHEREFORE, Plaintiff, John J . Boswell, prays for a judgment against the Defendants

    for the relief as pled herein and for such other and further relief as this Honorable Court

    deems just and proper under the circumstances .

                                               Lawrence M. Burrell, Jr., P.A .




                                               Lawrence M . B ell , 1*
                                               FBN : 982342T!-'
                                                       8234 2
                                               2880 S .E . Downwinds Road,
                                               Jupiter, Fl 33478
                                               561/747-5705 Fax : 747-0352
                                               Attorney for the Plaintiff




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  %JS 44 ( Rev . 11/04)              CIVIL COVER SHEE T
  The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the tiling and service of pleadings or other papers as required by law, except as provided
  by local riles of court . This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
  the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM . )

   1 . (a) PLAINTIFFS                                                                                              DEFENDANTS

                                                 John J .                 I Tsw 1                    80 7e&I 1 7 : I i 1 • i gild-' - ,A1- j JR P Il 'k .1 a P 1
                                                                                                                       Fisher & Bendeck, P .A .                                                         JVJAUI ~) I NA It
      (b) County of Residence of First Listed Plaintif f                                                           County of Residence of First Listed Defendant                    Palm BZSa C
                                                                                                                                                                                                        `c1 1-~150N
                                  (EXCEPT IN U .S PLAINTIFF CASES )                                                                    (IN U .S . PLAINTIFF CASES ONLY )
                                                                                                                           NOTE : IN LAND CONDE y                     E'JRC~7IpN OF THE
      (C) Attorney's (Firm Name, Address, and Telephone Number )                                                           TRACT OF LAND INVOL Uu l


                                               Lawrence M . Burrell, Jr .                                       P . A . Attonieys (If Known)

                                               2880 SE Downwinds Rd                                                                                                                 An   '-~
                                               Jupiter, FL 33478
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      (d) Check County Where Action Arose ❑ DADE                     ❑ MONROE O BROWARD XJ PALM BEACIJ                      ❑ MARTIN          ❑ ST . LUCI    j     IDb*Nd{WER F'A OkFBBfa4 O EE HIGHLANDS

  II . BASIS OF JU RISDICTION                           (Place an "X" in One Box Only)                III . CITIZENSHIP OF PRINCIPAL PARTIES(Place an                  "X" in One Box for Plaintiff
                                                                                                                (For Diversity Cases Only) mid One Box for Defendant)
  ❑ I U .S . Govern ment Federal Questio n                                                                                       PTF DEF PTF DEF
         Plaintiff                (U .S Government Not a Party )                                           Citizen of This State ❑ I ❑ I Incorporated ur Principal Place        ❑ 4       ❑ 4
                                                                                                                                            of Business In This Stat e

  ❑ 2 U .S . Government                     ❑ 4 Diversity                                                 Citizen of Another State            ❑ 2    ❑      2 Incorporated acid Principal Place         ❑   5       ❑   5
         Defendant                                                                                                                                                of Business In Another State
                                                     (Indicate Citizenship of Parties in Item III)

                                                                                                          Citizen or Subject of a             ❑ 3    ❑      3 Foreign Nation                                6       ❑ 6
                                                                                                             Foreign Country
  IV . NATURE OF SUIT                      (Place an "N" in One Box Only)
             CONTRACT                                              TORTS                                   FORFEITURE/PENALTY                            BANKRUPTCY                        OTHER STATUTES
  ❑   110 Insurance                         PERSONAL INJURY                     PERSONAL INJURY           ❑ 610 Agriculture                     ❑ 422 Appeal 28 USC 158             ❑   400 State Reapportionmen t
  ❑   120 Marine                       ❑     310 Airplane                  ❑ 362 Personal Injury -        ❑ 620 Other Food & Drug               ❑ 423 Withdrawal                    ❑   1I0 Antitrus t
  ❑   130 Miller Act                   ❑     315 Airplane Product                 Med . Malpractice       ❑ 625 Drug Related Seizure                 28 USC 157                     ❑   430 Banks and Bankin,,
  ❑   140 Negotiable Instrument                  Liability                 ❑ 365 Personal Injury -                of Property 21 USC 881                                            ❑   450 Commerc e
  ❑   150 Recovery of Overpayment      ❑     320 Assault, Libel &                 Product Liability       ❑ 630 Liquor Laws                       PROPERTY RIGHTS                   ❑   460 Deportation
         & Enforcement of Judgment              Slander                    ❑ 368 Asbestos Personal        ❑ 640 R R . & Trick                   ❑ 320 Copynvhts                     ❑   470 Racketeer Influenced and
  ❑   151 Medicare Act                 ❑     330 Federal Employers'               Injury Product          ❑    650 Airline Regs .               ❑ 830 Patent                               Cotmpt Organization s
  ❑   152 Recovery of Defaulted                  Liability                        Liability               ❑ 660 Occupational                    ❑ 840 Trademark                     ❑   480 Consumer Credi t
         Student Loans                 ❑     340 Marine                       PERSONAL PROPERTY                   Safetyillealth                                                    ❑   490 Cabie,Sal T V
         (Exc . Veterans)              ❑     345 Marine product            ❑ 370 Other Fraud              ❑    690 Other                                                            ❑   310 Selective Servic e
  ❑   153 Recovery of Overpayment               Liability                  171 371 Truth in Lending                     LABOR                     SOCIAL SECURITY                   ❑   850Securneti'C'omnindine s
          of Veteran's Benefits        ❑     350 Motor Vehicle             ❑ 380 Other Personal           ❑    710 Fair Labor Standards         ❑ 861 HIA (I 395ff)                        Exchang e
      160 Stockholders' Suits          ❑     355 Motor Vehicle                    Property Damage                 Act                           ❑ 862 Black Lung (923)              ❑   875 Customer Challenge
  ❑   190 Other Contract                        Product Liability          ❑ 385 Property Damage          ❑    720 LabodMgarr . Relations       ❑ 863 DIWCiDIWW (405(g))                    12 USC 341 0
  ❑   195 Contract Product Liability   ❑     360 Other Personal                   Product Liability       ❑    730 Labou vignit .Report ing     ❑ 864 SSID Title XVI                ❑   090 Other Statutory Action s
  ❑   196 Franchise                             Iniurv                                                            & Disclosure Act              ❑ 865 RSI (405(g))                  ❑   891 Agricultural Act s
        REAL PROPERTY                         CIVIL RIGHTS                 PRISONER PETITIONS             ❑    740 Railway Labor Act              FEDERAL TAX SUITS                 ❑   892 Economic Stabilization Ac t
  ❑   210 Land Condemnation            ❑     441 Voting                   ❑  510 Motions to Vacate        ❑    790 Oilier Labor Litigation      ❑ 870 Taxes (U .S . Plaintiff       ❑   89, Environmental ,Matter s
  ❑   220 Foreclosure                  ❑     442 Employment                     Sentence                  ❑    791 Empl . Ret Inc .                  or Defendant)                  ❑   894 Energy Allocation Act
  ❑   230 Rent Lease & Ejectment       ❑     443 Housing/                    Habeas Corpus :                      Security Act                  ❑ 871 IRS-Third Party               ❑   895 Freedoms of Infoimauo n
  ❑   240 Torts to Land                         Accommodations            ❑ 530 General                                                              26 USC 7609                               Ac t
  ❑   245 Tort Product Liability       ❑     444 Welfare                  ❑ 535 Death Penalty                                                                                       ❑   900Appeal of Fee Detemunatio n
  ❑ 290 All Other Real Property        ❑     445 Amer. w/Disabilities -   ❑   540 Mandamus & Other                                                                                             Under Equal Access
                                                Employment                ❑   550 Civil Rights                                                                                             to Justic e
                                       ❑     446 Amer. w/Disabiliues -    ❑   555 Prison Condition                                                                                  ❑   950 Conshtutionalii o f
                                                Other                                                                                                                                      State Statutes
                                       ❑     440 Other Civil Rights


  V . ORIGI N                 (Place an "X" in One Box Only)                                                                 Appeal to Distric t
                   O 2 0 3 Q 4 O 5 Transferred from 0 6 n 7 Judge from
  N        Original Removed from Remanded from Reinstated or another district Multidistnct Magistrate
           Proceeding              State Court                            Appellate Court Reopened (specify)                                                           Litieation                     Judgment

                                            I (Cite the U.S . Civil Statute under which you are filing and Write a Brief Statement of Cause ( Do not cite jurisdictional statutes unless diversity ).

  VI . CAUSE OF ACTIO N                         18 USC 2520 Use of unlawfully recorded telephone conversation
                                                18 USC 251 1
                                              LENGTH OF TRIAL via days estimated (ror both sides to try enure case )

  VII . REQUESTED IN                                CHECK IF THIS IS A CLASS ACTION DEMAND S CHECK YES only if demanded in complaint :
        COMPLAINT :                                 UNDER F .R .C .P . 23 injunction & damageSIURY DEMAND :         )J Yes   ❑ No

  VIII . RELATED CASE(S)
                                                  (See instructions) :
         IF AN Y                                                          JUDG E                                                                    DOCKET NUMBER

• DATE                                                                        SICs1 \TURE OF ATTORNEY OF RECORD

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  FOR OFFICE USE ONLY


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